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                                                          UN ITED STATES DISTRICT CO URT
                                                         CENTRAL DI STRICT OF CALIFORNIA

                                                                                         CASE NUMBER
MOSAFER INC., et al.
                                                                                                     2:2 1-cv-06320-MCS (JCx)
                                                                   PLAINTIFF(S)
                                          V.


ELLI OT BROIDY, et al.                                                                                          WA IVER OF SERV ICE OF
                                                                                                                      SUMMONS
                                                               DEFENDANT(S) .

To : Stephen G. Larson, Esq.
     (Name of Plaintiff's Auorney or Unrepresented Plaintiff)


     I hereby acknow ledge receipt of your request that I waive servi ce of a summons in the above-entitled action. I have also received a
copy of the comp laint in the action , two copi es of this waiver form , and a means by which I can return the signed waiver to yo u without
cost to me.

     I agree to save the cost of service of a summons and an additional copy of the complaint in this lawsuit by not requ iring that I (or the
entity on whose behalf I am acting) be served with judicial process in the manner provided by Ru le 4 of the Federal Rules of Civil
Procedure.

    I (or the entity on whose behalf I am acting) will retain all defenses or objections to the lawsuit or to the j uri sdiction or venue of the
court except fo r obj ections based on a defect in th e summons or in the service of the summon s.

    I understand that judgment may be entered against me (or the party on whose behalf I am acting) if an answer or motion under Rule
12 is not served within 60 days after* September 2, 2021                       , or w ithin 90 days after that date if the request was sent
outside the United States.

     *Date Notice of lawsuit and Request fo r Waiver ofSen 1ice Summons is sent.

     September 29, 202 1
     Date Signed by Receiving Party

      Courtn ey R . Forrest                                                                 (202) 640-2850 (Main) & (202) 280- 1034 (Fax)
       ame                                                                                   Telephone Number and Fax Number

     KaiserDill on PLLC
     I 099 14th Street NW 8th Floor West                                                     Attorney for Defendant, George Nader
     Street Address                                                                          Relationship to Entity on Whose Behalf I am Acting

     Washington, D .C., 2000 5                                                               GEORGE NADER
     City. State. Zip Code                                                                   Name of Party Waiv ing-Service
Du ty to Avo id Unn ecessary Costs of Serv ice of Summons

      Rule 4 of the Federal Rules of Civi l Procedure requ ires certain parties to cooperate in saving unnecessary costs of service of the summons and complaint. A defendant
located in the United States who, after being notified of an action and asked by a plaint iff located in the United States to waive service of a summons, fai ls to do so will
be req uired to bear the cost of such service unless good cause be shown for its fa ilure to sign and return the waiver.

      It is not good cause for a fai lure to waive service that a party believes that the complaint is unfo unded, or that the action has been brought in an improper place or
in a court that lacks juri sd icti on over the subject matter of the action or over its person or property. A party who waives serv ice of the summons retai ns all defenses and
objections (except any relating to the summons or to the serv ice of the summons), and may later object to the jurisdiction of the court or to the place where the action has
been brought.

      A defendant who waives serv ice must within the tim e speci fi ed on the waiver form serve on the plaint iff s attorney (or unrepresented plainti ff) a response to the
complaint and must also fil e a signed copy of the response with the court. If the answer or motion is not served withi n this time, a default j udgment may be taken aga inst
that defendant. By waiving service, a defendant is all owed more time to answer than if the sum mons had been actuall y served when the request for waiver of summons
was rece ived.
CV- I08 (06/98)                                           WA IVER OF SE RVICE OF SUMMONS                                                                               ft
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